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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA                                                 II: 04

             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                 V.                                (For Offenses Committed On or AfterN'ovemberl, 1987) .
     HECTOR MANUEL ARAGON-RODRIGUEZ (1)
                                                                      Case Number:         15CR2025-DAS - .

                                                                   KURT HERMANSEN
                                                                   Defendant's Attorney
REGISTRATION NO.                  50443298
 D -
 IZl pleaded guilty to count{s)        ONE (1) OF THE INFORMAnON

 D   was found guilty on count(s)
     after a plea ofnot guilty.                                .
                            is
 Accordingly, the defendant adjudged guilty of such count(s), which involve the following offense{s):
                                                                                                                      Count
 Title & Section                      Nature of Offense                 . ..                                       Number(s)
 8 USC 1324(a)(1)(A)(i)               BRINGING IN lLLEGAL ALIEN{S) AND AIDING AND                                     1
 AND (v)(II)                          ABETTING




      The defendant is sentenced as provided in pages 2 through..              2          of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform: Act of .1984.
 D     The defendant has been found not guilty on count(s)

 D     Count(s}                                               is            dismissed onthe motion ofthe United States.

 IZl Assessment: $100.00



 IZl No fine                     D Forfeiture pursuanUo order filed                                           , included herein.
        IT IS ORDERED thatthe defendant shalhiotifythe United States Attorney for this district within 30 days ofany
 change of name, residence, or mailing address until allfmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid .. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                    NOVEMBER 9.2015



                                                                    HON. CYNTFrrABASHANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                   15CR2025-BAS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                HECTOR MANUEL ARAGON-RODRIGUEZ (1)                                       Judgment - Page 2 of 2
CASE NUMBER:              15CR2025-BAS



                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 EIGHT (8) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO THE WESTERN REGION
       FOR FAMILY VISITS.




  o    The defendant is remanded to the custody oflhe lJnitedStatesMarshal.

  o    The defendant shall surrender to the United States Marshal for this district:
        o    at
                  ------------------------- A.M.               on
                                                                    -------------------------------------
        o    as notified by the United StatesMarshal~···.·

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  o     Prisons:                                .
        o    on or before
        o    as notified by the United States Marshal ...
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
  I have executed this judgment as follows:

        Defendant delivered on                      to
               ~~--------------------------                                  -------------------------------­
  at ___________-'--_,. with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                      By                     DEPUTY UNITED STATES MARSHAL


                                                                                                        15CR2025-BAS
